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This device attaches to the leads of a Harmonic Quad 5 zapper. The device removes toxins from the body
through the feet. Cationic toxins accumulate in one compartment of the foot tub and anionic toxins
accumulate in the other. It takes about 10 minutes. It is a great help to people with weak kidneys.
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